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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                   )
 PETER P. STRZOK,                  )
                                   )
                  Plaintiff,       )
                                   )                         Case No. 1:19-cv-2367-ABJ
         v.                        )
                                   )
 ATTORNEY GENERAL WILLIAM F. BARR, )
 in his official capacity, et al., )
                                   )
                  Defendants.      )
                                   )
                                   )

               UNOPPOSED MOTION TO EXTEND TIME TO RESPOND

       Defendants hereby move for an extension of time to respond to Plaintiff’s complaint in the

above-captioned matter. Service was complete on the Defendants on August 28, 2019 and,

accordingly, under Rule 6(a)(1) and Rule 12(a)(3) of the Federal Rules of Civil Procedure,

Defendants’ response is currently due on Monday, October 28, 2019. Defendants respectfully ask

the Court to extend that deadline until Friday, November 8, 2019 because the undersigned, who is

the lead attorney in this matter, will be on scheduled medical leave during late October and early

November.

       This is Defendants’ first request for an extension of time to respond to Plaintiff’s complaint.

Counsel for Defendants contacted counsel for Plaintiff, who indicated that Plaintiff does not

oppose Defendants’ request. Counsel for Plaintiff also indicated that Plaintiff would like until

December 6, 2019 to respond to Defendants’ responsive pleading, and, having no objection,

Defendants incorporate that request into the instant unopposed motion.

Dated: October 22, 2019                               Respectfully submitted,
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                                  JOSEPH H. HUNT
                                  Assistant Attorney General

                                  MARCIA BERMAN
                                  Assistant Branch Director

                                  CHRISTOPHER R. HALL
                                  Assistant Branch Director

                                  /s/ Bradley P. Humphreys
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